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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF FLORIDA
                                               MIAMI DIVISION

In re: Application Pursuant to         )
28 U.S.C. 1782 of                      )
                                       )
FARHAD AZIMA                           )                                  Case No.: 22-20707-MC-MARTINEZ
                                       )
           Petitioner,                 )
v.                                     )
                                       )
INSIGHT ANALYSIS AND RESEARCH,         )
LLC, and SDC-GADOT LLC,                )
                                       )
           Respondents,                )
                                       )
_______________________________________)

              RESPONSE IN OPPOSITION TO PETITIONER’S SUPPLEMENTAL
            APPLICATION FOR DISCOVERY UNDER 28 U.S.C. § 1782, AND MOTION
              TO DISMISS FOR WANT OF JURISDICTION (AND INCORPORTED
                              MEMORANDUM OF LAW)1:

         AMIT FORLIT, by and through the undersigned attorneys (who continue to represent AMIT

FORLIT on the basis of the original Notice of Limited Appearance), hereby files this Response in

Opposition to Petitioner’s Supplemental Application for Discovery under 28 U.S.C. § 1782, and his

Motion to Dismiss for Want of Jurisdiction, upon proffer of the following:

                     COMPLETE LACK OF SUBJECT MATTER JURISDICTION

    1. On April 26, 2022, AMIT FORLIT received an email from the local registered agent of

         Respondent, SDC-GADOT, LLC. A true copy of same is attached hereto as Exhibit “1”.




1
  By filing this Response, which is filed pursuant to Court Order, AMIT FORLIT does not assent to personal jurisdiction or subject
matter jurisdiction of this Court, but rather continues to maintain that a want of subject matter jurisdiction and personal jurisdiction
require denial of the relief sought by Petitioner as to AMIT FORLIT and dismissal of these proceedings as to AMIT FORLIT.


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2. Thereby, and for the first time, AMIT FORLIT, received a copy of a Notice of Deposition and

   proposed Subpoena for an in-person deposition set to take place on May 4, 2022 at a law office

   in Miami, Florida, directing AMIT FORLIT to appear in Florida for said deposition.

3. AMIT FORLIT is not a resident of the State of Florida. See Exhibit “2” attached hereto.

4. AMIT FORLIT is not a resident of the United States of America. See Exhibit “2” attached

   hereto.

5. AMIT FORLIT is not a United States Citizen. See Exhibit “2” attached hereto.

6. AMIT FORLIT has not physically been in the State of Florida since 2017. See Exhibit “2”

   attached hereto.

7. AMIT FORLIT received no communication from the Petitioner or his counsel before April

   26, 2022 regarding the aforementioned deposition, and the date was not scheduled or

   coordinated with input from AMIT FORLIT.

8. Of note, AMIT FORLIT was never personally served within the State of Florida, let alone

   within the territorial jurisdiction of the United States of America or this District Court, with

   any subpoena directing him to appear for a deposition in Miami, Florida. Moreover, AMIT

   FORLIT has not been personally served with Petitioner’s Supplemental Application pursuant

   to 28 U.S.C. § 1782. This Response, and Motion to Dismiss, has been filed in order to timely

   comply with an Order of this Court entered on June 8, 2022 which Granted AMIT FORLIT’s

   Motion to Quash and Motion to Quash Service. In so filing this Response and Motion, AMIT

   FORLIT does not waive, and hereby expressly contests, the attempt of the Petitioner to have

   this Court assert jurisdiction over his person, and AMIT FORLIT contends that this Court

   lacks subject matter jurisdiction in these proceedings as to him individually.



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9. At all times material hereto, Petitioner has not resided in, conducted business in, owned

   property in, or otherwise been present in, the State of Florida or the territorial jurisdiction of

   this Court. See composite Exhibit “2” attached hereto.

10. As can be seen by the information on file with the Florida Department of State, Division of

   Corporations for Respondent SDC-GADOT, LLC (which is the information originally utilized

   by the Petitioner to initially identify AMIT FORLIT), the address for AMIT FORLIT (denoted

   on annual filings with the Florida Department of State, Division of Corporations, for SDC-

   GADOT, LLC) is: 5-A Habarzel St., Tel Aviv, IL 69710-02. See Exhibit “3” attached hereto.

11. Per 28 U.S.C. § 1782(a), “The district court of the district in which a person resides or is

   found may order him to give his testimony or statement or to produce a document or other

   thing for use in a proceeding in a foreign or international tribunal, including criminal

   investigations conducted before formal accusation. The order may be made pursuant to a letter

   rogatory issued, or request made, by a foreign or international tribunal or upon the application

   of any interested person and may direct that the testimony or statement be given, or the

   document or other thing be produced, before a person appointed by the court. By virtue of his

   appointment, the person appointed has power to administer any necessary oath and take the

   testimony or statement. The order may prescribe the practice and procedure, which may be in

   whole or part the practice and procedure of the foreign country or the international tribunal,

   for taking the testimony or statement or producing the document or other thing. To the extent

   that the order does not prescribe otherwise, the testimony or statement shall be taken,

   and the document or other thing produced, in accordance with the Federal Rules of Civil

   Procedure. A person may not be compelled to give his testimony or statement or to produce



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   a document or other thing in violation of any legally applicable privilege.” See § 1782, 28

   U.S.C. (1996) (emphasis added).

12. Petitioner seems to rightfully concede that AMIT FORLIT, who is not a U.S. Citizen, does

   not possess a green card, and owns no real property in the State of Florida, is not a resident of

   the State of Florida. As such, nothing further needs be addressed to the point of “residency”

   for determining whether subject matter jurisdiction lies in this proceeding.

13. In determining whether or not subject matter jurisdiction lies based upon a potential

   Respondent being “found in” a given district, the Courts routinely interpret 28 USC 1782 to

   provide for what is referred to as “tag” jurisdiction. Thereunder, a person who is physically

   served with process and/or a subpoena in the United States is located in the jurisdiction in

   which he is served for purposes of determining if he or she is “found in” a given district. See

   generally In re Joint Stock Co. Raiffeisenbank, 2017 U.S. Dist. LEXIS 130721 (S.D. Fla.

   2017) (Section 1782 authorizes district courts to grant an application for judicial assistance,

   subject to the requirement that "the person from whom discovery is sought must reside or be

   found in the district of the district court ruling on the application for assistance." In re Clerici,

   481 F.3d at 1331-32. To determine whether a person resides in the district of the district court

   ruling on the application within the meaning of the statute, courts have looked to the applicable

   state law for guidance. [*6] See, e.g., In re Application of Gazprom Latin Am. Servicios, C.A.,

   No. 4:14-mc-1186, 2016 U.S. Dist. LEXIS 87175, 2016 WL 3654590, * 10 (S.D. Tex. July 6,

   2016) (applying Texas law to conclude that Section 1782 respondent did not reside in the

   district). Under Florida law, residence hinges on the intent "to remain permanently a citizen

   of the state." Bloomfield v. City of St. Petersburg Beach, 82 So. 2d 364, 369 (Fla. 1955). …



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         For purposes of Section 1782, a person is found in a district if he or she has been personally

         served with the discovery requests underlying the Section 1782 application. See In re

         Edelman, 295 F.3d 171, 180 (2d Cir. 2002) (holding that "if a person is served with a subpoena

         while physically present in the district of the court that issued the discovery order, then for the

         purposes of § 1782(a), he is 'found' in that district").1 See also In re Godfrey, 526 F. Supp. 2d

         417, 421 (S.D.N.Y. 2007) (interpreting In re Edelman as requiring "personal" service, not

         "substitute" service under a state's rules of service of process and personal jurisdiction). Here,

         Raiffeisenbank only attempted to effectuate "substitute" service of the subpoenas by serving

         Beloussov's mother as his purported "coresident" at the Boca Raton Residence. See Affidavits

         of Service [D.E. 8, 9].2 Under the authority of In re Edelman and In re Godfrey, such purported

         substitute service is insufficient for Beloussov to be "found" in the Southern District of Florida

         for purposes of Section 1782. 3”).

    14. Here, “tag” jurisdiction does not lie, as AMIT FORLIT has not been physically served with

         process at any time in these proceedings anywhere in the State of Florida, or in the United

         States.

    15. Acknowledging this, Petitioner seeks to move beyond “tag” jurisdiction to argue that this

         Court can establish proper subject matter jurisdiction over this proceeding as to AMIT

         FORLIT based upon a Florida state statute governing long-arm personal jurisdiction, which

         is applicable to direct civil actions brought by a Plaintiff against a foreign party Defendant2,

         and based upon alleged “facts” proffered by the Petitioner supporting his allegations of a)


2
  This is not such a direct action wherein AMIT FORLIT is a named party Defendant with sufficient alleged “contacts” to the form
jurisdiction to establish that due process would allow claims to be prosecuted against him in said jurisdiction. This is a statutorily
established (and limited) action for discovery to allegedly assist the prosecution of foreign claims against foreign parties in a foreign
jurisdiction.


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   “minimum contacts” with the State of Florida, and b) that the corporate Respondents in this

   action are AMIT FORLIT’S “alter ego”.

16. However, Petitioner cites to no controlling or supporting case authority for Petitioner’s

   position that, where subject matter jurisdiction cannot be established under 28 USC 1782 by

   “tag” jurisdiction, a Petitioner may establish subject matter jurisdiction under 28 USC 1782

   by alternatively arguing that personal jurisdiction may lie pursuant to Florida’s long-arm

   personal jurisdiction statute (F.S. 48.193).

17. There is no decisional authority of the Eleventh Circuit which would be binding upon this

   Court on this subject. And as Petitioner cites to no persuasive authority to support his position,

   your undersigned would assert that Petitioner’s exact argument has actually been expressly

   made, and rejected, by a sister district Court (in the Eastern District of Virginia) as recently as

   January of 2022.

18. In In re Eli Lilly & Co. v. Novartis Pharma AG, 2022 U.S. Dist. LEXIS 8984 (E.D. VA 2022),

   the Court performed an exhaustive analysis of the congressional intent of 28 U.S.C. § 1782,

   its limitations, and the meaning of the term “found” as used within the statute, therein stating

   the following:

      A. The plain meaning of "found" suggests that Congress intended § 1782 to provide for

      discovery from a party only where that party was physically present in the district in

      which discovery was sought.

      Neither the Supreme Court nor the Fourth Circuit have interpreted the meaning of

      "found" as used in §1782 and the case therefore presents a question of first impression.

      The analysis properly begins, "as always in deciding questions of statutory



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     interpretation, with the text of the statute." Othi v. Holder, 734 F.3d 259, 265 (4th Cir.

     2013).

     Absent a definition provided by the statute, a reviewing court is required to "give

     statutory terms their ordinary, contemporary, common meaning." Othi, 734 F.3d at 265

     (citing United States v. Powell, 680 F.3d 350, 355 (4th Cir. 2012)). Courts engaging in

     statutory interpretation customarily rely on dictionary definitions to ascertain the

     ordinary, common meanings of statutory terms. See, e.g., In re Constr. Supervision

     Servs., Inc., 753 F.3d 124, 128 (4th Cir. 2014) (explaining that when a term is not

     defined in a statute, courts may consult dictionaries to ascertain that terms plain,

     ordinary meaning). Novartis argues that dictionary definitions of the word "found"

     suggests that § 1782 requires physical presence in this District. Indeed, dictionary

     definitions point uniformly to the conclusion that "found" requires physical presence.

     For example, Novartis points to the Merriam-Webster Dictionary, which defines "find"

     as "to perceive (oneself) to be in a certain place" and clearly suggests that to be "found"

     in a place is to be physically present there. Find, MERRIAM-WEBSTER.COM (last

     visited Jan. 5, 2022), https://www.merriamwebster.com/dictionary/find. [*8] Other

     dictionaries confirm that to be found in a judicial district requires physical presence in

     that district. See, e.g., Find, OXFORD ENGLISH DICTIONARY (last visited Jan. 5,

     2022), https://www.oed.com/view/entry/70348 (defining "find" as "to exist; to occur;

     to be located at a specific site"); Find, CAMBRIDGE DICTIONARY (last visited Jan.

     5, 2022) (defining "find" as "to discover, especially where a thing or person is"). Eli

     Lilly did not cite or offer a single dictionary definition in support of a contrary



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     definition, nor was any contrary dictionary definition found. Moreover, Eli Lilly offers

     no argument whatsoever that the plain, ordinary meaning of "found" does not refer to

     physical presence.

     Accordingly, it is appropriate to conclude that Congress knew the ordinary, common

     meaning of "found" and therefore intended § 1782 to apply only to parties who are

     physically present in the district in which discovery is sought. As the Supreme Court

     has instructed, "if the intent of Congress is clear and unambiguously expressed by the

     statutory language at issue," that marks the end of the statutory interpretation analysis.

     Zuni Pub. Sch. Dist. No. 89 v. Dep't of Educ., 550 U.S. 81, 93, 127 S. Ct. 1534, 167 L.

     Ed. 2d 449 (2007). The plain and ordinary meaning of "found" finds support in the

     statute's [*9] legislative history. Novartis convincingly argues that the legislative

     history of § 1782 also supports this conclusion. As the Supreme Court has instructed,

     the "statutory history sheds further light on the text" and can clarify a statute's meaning.

     United States v. Quality Stores, Inc., 572 U.S. 141, 148, 134 S. Ct. 1395, 188 L. Ed. 2d

     413 (2014). The legislative history of § 1782 suggests that Congress intended for the

     statute to apply only to parties physically present in the district in which the § 1782

     subpoena is requested. Section 1782 was initially passed in 1948, and the text of that

     original statute applied only to parties "residing" in a given judicial district. Act of June

     25, 1948, Pub. L. No. 80-773, § 1782, 62 Stat. 869, 949. The following year Congress

     amended the statute, expanding the scope of § 1728 to include a district where the

     subpoenaed party "resides or is found." Act of May 24, 1949, Pub. L. No. 81-72, § 93,

     63 Stat. 89, 103. This change suggests that Congress intended to include not only



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      parties with a permanent residence in a judicial district, but also those parties who were

      physically present in the district, even if only temporarily. Indeed, a House Report

      accompanying the 1949 amendment explained that the change was intended to

      "correct[ ] restrictive language in section 1782 ... and permit depositions in any judicial

      proceeding without regard to whether the deponent is 'residing' [*10] in the district or

      only sojourning there." H.R .Rep. No. 81-352, at 40 (1949), reprinted in 1949

      U.S.C.C.A.N. 1254, 1270. Thus, § 1782's legislative history confirms that Congress

      intended § 1782 to apply in any judicial district in which a party is physically present

      and can therefore be "found," either as a resident or as a sojourner.

      See Id (emphasis added).

19. Additionally, the case law cited by AMIT FORLIT in the Motion to Quash Subpoena and

   Service of Subpoena, and Motion for Protective Order, filed of record and Granted by Order

   of this Court (see DE 7 and DE 21), holds that subject matter jurisdiction cannot lie as AMIT

   FORLIT is not physically in the Southern District of Florida, is not found here, has not been

   personally served here, and cannot be personally served here. See In re Joint Stock Co.

   Raiffeisenbank, 2017 U.S. Dist. LEXIS 130721 (S.D. Fla. 2017) (“For purposes of

   Section 1782, a person is found in a district if he or she has been personally served with the

   discovery requests underlying the Section 1782 application. See In re Edelman, 295 F.3d 171,

   180 (2d Cir. 2002) (holding that "if a person is served with a subpoena while physically present

   in the district of the court that issued the discovery order, then for the purposes of § 1782(a),

   he is 'found' in that district"). See also In re Godfrey, 526 F. Supp. 2d 417, 421 (S.D.N.Y.

   2007) (interpreting In re Edelman as requiring "personal" service, not "substitute" service



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   under a state's rules of service of process and personal jurisdiction). Here, Raiffeisenbank only

   attempted to effectuate "substitute" service of the subpoenas by serving Beloussov's mother

   as his purported "co-resident" at the Boca Raton Residence. See Affidavits of Service [D.E.

   8, 9]. Under the authority of In re Edelman and In re Godfrey, such purported substitute service

   is insufficient for Beloussov to be "found" in the Southern District of Florida for purposes of

   Section 1782. Because Beloussov neither resides nor is found in the Southern District of

   Florida, the Court lacks subject matter jurisdiction over Raiffeisenbank's Application and the

   Application is subject to dismissal.”).

20. Given the foregoing, and the fact that Petitioner cites to no authority to support a linkage

   between his tortured personal jurisdiction analysis under F.S. § 48.193 and the requirement

   of subject matter jurisdiction existing under 28 USC § 1782 based upon its plain language, no

   further inquiry is necessary on the issue of lack of subject matter jurisdiction. On this basis,

   the Supplemental Request must be denied and this proceeding dismissed as to AMIT FORLIT

   individually for want of subject matter jurisdiction.

   PETITIONER’S DEFAMATORY ALLEGATIONS AND USE OF FALSE AND
            PERJURIOUS MATERIAL IN THIS PROCEEDING:

21. Though it does not bear upon the complete absence of subject matter jurisdiction, given the

   gross amount of defamatory assertions which have been made in the Petitioner’s filings AMIT

   FORLIT wishes to address the overreaching and patently false allegations that have been made

   against him.

22. First and foremost, AMIT FORLIT is not a hacker. See Exhibit “2”. He was never hired to

   investigate or “hack” the Petitioner. See Exhibit “2”. AMIT FORLIT is a private investigator.

   See Exhibit “2”. In the supporting affidavit of Stuart Page identified by the Petitioner, Mr.


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       Page has never directly asserted that he affirmatively retained and paid AMIT FORLIT to

       “hack” the Petitioner. This is likely because, if he made any such sworn assertion, he would

       be committing perjury yet again.

    23. Looking to Mr. Page’s affidavit (DE 23-5), he does not affirmatively attest that he hired

       AMIT FORLIT to hack the Petitioner or otherwise unlawfully obtain any information

       belonging to the Petitioner. Instead, he states that AMIT FORLIT’s services were retained

       for different matters altogether, and at a later point in time Mr. Page asked AMIT FORLIT to

       “monitor the internet and dark web” for information belonging to the Petitioner.3

    24. Upon further inspection, it can be seen that Mr. Page’s affidavit possesses a very peculiar

       preface statement, akin to a “qualifier” as to the matters he intends to attest to under oath4:

           “I have prepared this affidavit in a fairly limited time period as I understand that Mr

           Azima’s application may be decided imminently, and so I have not had the opportunity

           to review the full range of potentially relevant documents that are available to me. I am

           therefore preparing this affidavit largely from memory and with limited assistance from

           documents. Subject to this point, and except where I indicate otherwise below, the

           facts and matters stated in this affidavit are within my own knowledge and are true.

           Where information has been supplied to me by others, its source is identified and I

           believe it to be true.”


3
  Mr. Forlit asserts that this sworn statement by Mr. Page is patently false, as he was never asked to investigate,
let alone “hack”, the Petitioner. Mr. Page actually acknowledged the falsity of his recent sworn statements in
direct communications he sent to AMIT FORLIT. See Exhibit “3” attached hereto.
4
  This statement appears crafted as an escape hatch in case one further examines Mr. Page’s attestations, finds
them to be false, and he is referred for prosecution of perjury, so that Mr. Page can assert that he only testified
based upon his memory, what limited document review he conducted, and what was told to him that he “believed”
to be true.


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25. After the foregoing “qualifier”, Mr. Page then openly attests that his prior sworn testimony

   before the Courts of the UK, provided multiple times before said Court, was false:

       “I wish to correct the evidence I gave both in my Witness Statement and during my

       oral testimony at the First Trial as to the circumstances in which Mr Azima’s

       confidential information came to be discovered. The fact of the matter is that Majdi

       Halabi (“Majdi”) had no role in the discovery of Mr Azima’s confidential information.

       I provided incorrect testimony, claiming that (i) I had approached him in relation to the

       threatened negative publicity campaign, and (ii) he had discovered the data. In fact, I

       approached Amit (and not Majdi) and asked him to monitor the Internet and the dark

       web for such information, and it was Amit who told me about the data.”

26. After attesting under penalty of perjury to the prior commission of perjury (not once, but

   twice), Mr. Page then states that AMIT FORLIT was not hired to investigate the Petitioner,

   but rather a completely different individual (Dr. Massaad), and that separate from that

   investigation Mr. Page requested that AMIT FORLIT “monitor the internet and dark web”

   whereafter Mr. Page was provided with a link to confidential data appearing to belong to the

   Petitioner.

27. Of note, nowhere within Mr. Page’s affidavit did he assert that AMIT FORLIT was hired for

   the purpose of investigating, let alone “hacking”, the Petitioner or unlawfully obtaining data

   or information belonging to him.

28. As noted in Exhibit “3” attached hereto, after Mr. Page was identified by the Petitioner as an

   additional Defendant in the UK proceedings, he suffered severe financial distress, a mental

   breakdown that almost cost him his life, and then he decided to “co-operate” with the



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   Petitioner, leading to Mr. Page’s recent sworn statements relied upon by the Petitioner herein.

   As seen in Exhibit “3” attached hereto, Mr. Page’s false sworn statements as to AMIT

   FORLIT led to enough guilt and remorse that Mr. Page thought it necessary to communicate

   directly with AMIT FORLIT to explain his recent “sworn statements”, wherein Mr. Page

   requested to meet with AMIT FORLIT to “work out how to resolve your situation next, given

   what I have had to do”.

29. Particularly poignant in this exchange is Mr. Page’s response to AMIT FORLIT’s direct

   statement that Mr. Page knows that AMIT FORLIT had nothing to do with any “hacking” of

   the Petitioner. Specifically, in Exhibit “3” AMIT FORLIT stated the following to Mr. Page:

   “I need to think if I want to be dragged into this play Now the journalists accusing me in things

   you know I didn’t do or have anything to do with (like FA hacking)…”.

30. In response, Mr. Page did not refute AMIT FORLIT’s contention that he had nothing to do

   with any “hacking” of the Petitioner. Mr. Page did not further comment in support of the false

   sworn statements he has recently made accusing AMIT FORLIT of actions for which he is

   completely innocent. Instead, Mr. Page responded as follows:

       “I understand but you know that I really valued our friendship. Give it some serous

      thought, hope the family is well”.

31. At this point the Petitioner, and those working on behalf of the Petitioner (including one

   Dominic Holden), are actively using false sworn statements made by Mr. Page to implicate

   AMIT FORLIT in matters in which he was not a participant, and for which he is not in any

   way, shape, or form responsible. It is plainly open and obvious that Petitioner is seeking to

   join AMIT FORLIT in these discovery proceedings in a transparent attempt to try and force



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   his “co-operation”, just as Petitioner did with Mr. Page, through unnecessary and

   extraordinary litigation expense.

32. Petitioner is furthermore seeking to double down by relying on a “declaration” of Dominic

   Holden, an attorney representing the Petitioner in the UK Proceedings, whose declaration (DE

   23-2) glosses over with broad strokes the points that Petitioner wants to make, but which are

   not actually identified in, attested to, or supported by Mr. Page’s recent “sworn statements”.

   Moreover, Mr. Holden’s Declaration relies nearly entirely upon Mr. Page’s false “sworn

   statements” as support for his blanket assertions.

33. By review of DE 23-2 it is plainly seen that, outside of the limited matters which are within

   Mr. Holden’s personal knowledge (i.e., the allegations put into draft pleadings he, or his firm,

   have prepared for the Petitioner, and hearings in the UK proceedings in which he has actually

   participated), the remainder of Mr. Holden’s declaration is based upon a twisting and

   misrepresentation of the more recent “sworn statements” provided by Mr. Page.

34. For purposes of illustration, Mr. Holden’s Declaration contains an assertion in paragraph 22

   wherein he asserts: “The Third Page Witness Statement states that, in or around February of

   2020, Handjani invited Mr. Page to two meetings with Mr. Handjani and Mr. Gerrard, at which

   they instructed Mr. Page and an Israeli hacker, Mr. Amit Forlit, of Insight Analysis and

   Research, LLC (“Insight”) to determine who was funding Mr Azima’s and other’s litigation

   relating to the Emirate of Ras Al Khaimah and Dechert, LLP”.

35. Of note, Mr. Pages’ Third Witness Statement says nothing of the sort. Nowhere did Mr. Page

   indicate that AMIT FORLIT was at any such meeting, or received a direct instruction by Mr.




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   Handjani and Mr. Gerard to “investigate” the Petitioner. Nor is there any sworn assertion that

   AMIT FORLIT accepted any such direction, or acted upon same.

36. The foregoing illustrates the lengths to which the Petitioner is prepared to go to utilize false

   “sworn” statements of whomever he can recruit to advance his own purposes.

37. In reality, and as attested to in Exhibit “2” and shown by Exhibit “3”, AMIT FORLIT is not a

   “hacker” and did not participant in any “conspiracy” to defraud, or to “hack” the Petitioner,

   and he has no personal knowledge of the issues now falsely raised and asserted against him.

38. Rather, AMIT FORLIT is a licensed private investigator, having operated an authorized and

   reputable business in Israel (Gadot Investigative Services) since its formation in 2002 (see

   Exhibit “4” attached hereto), and at all times his activities have been subject to, and in

   compliance with, the laws of Israel as to the issuance of licenses for those wishing to engage

   in work as a private investigator (see Exhibit “5”).

                 FOREIGN LOCATION OF ALL ALLEGED CONDUCT:

39. Beyond the clear and facial invalidity of the “facts” identified by Petitioner in support of his

   request for relief, one key factor that the Petitioner and his supporting affiants routinely and

   openly overlook is that all allegations or attestations made relating to AMIT FORLIT pertain

   to alleged activity falling wholly outside of the geographic boundaries and jurisdiction of the

   United States of America. Of note, nowhere in the volumes of materials provided by the

   Petitioner does the Petitioner identify any conduct of AMIT FORLIT aimed at “misleading”

   or “defrauding” the Courts of the UK which allegedly occurred in the territorial jurisdiction

   of the United States of America. Moreover, no allegation or attestation has been made that




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   AMIT FORLIT conducted any “hacking” of the Petitioner from a location within the territorial

   jurisdiction of the United States.

40. This is likely due to the fact that a) the Petitioner knows that the defamatory accusations made

   against AMIT FORLIT are false, b) the Petitioner is relying upon coerced false statements of

   affiants to prop up this false narrative, and c) the Petitioner is currently actively pursuing

   claims against the actual “hackers” he believes perpetrated the interception and covert

   acquisition of his data. See Exhibit “6”, wherein the Petitioner is suing the party Defendants

   he openly alleges are responsible for his “hacking”.

41. In a recent decision of this Court, In re Kurbatova, 2019 U.S. Dist. LEXIS 84030 (S.D. Fla.

   2019), the honorable Beth Bloom quashed subpoenas for discovery directed to a foreign party,

   stating the following in support thereof:

       Once the district court determines that the statutory requirements of § 1782 have been

       met, it must then also determine whether the requested discovery complies with the

       Federal Rules. "For example, if the subpoena at issue is directed to a party that resides

       or is found in the district, same must comply with Fed. R. Civ. P. 45." In re Chevron

       Corp., 2012 U.S. Dist. LEXIS 123315, 2012 WL 3636925, at *6 (S.D. Fla. June 12,

       2012) (citing In re Application of Inversiones v. Gasolinera Petroleos Vanezuela, S.

       De R.L., 2011 U.S. Pursuant to Rule 45(d)(3), the Court must quash or modify a

       subpoena that requires a "person to comply beyond the geographical limits specified

       in Rule 45(c)." Federal Rule of Civil Procedure 45(c) states that a subpoena may

       only command a person to attend a trial, hearing or deposition or command the

       production of documents "within 100 miles of where the person resides, is employed,



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               or regularly transacts business." Fed. R. Civ. Pro. 45(c)(1); Fed. R. Civ. Pro.

               45(c)(2). In the Motion, Credit Suisse argues that the Subpoena must be quashed

               because Credit Suisse has no office in Florida and thus has no employees within the

               100-mile radius to engage in the act of production. ECF No. [22], at 10-12. Kurbatova

               responds that "Section 1782's reach is extraterritorial." ECF No. [29], at 19. However,

               she concedes that there is a "geographical limitation on Section 1782 discovery

               concern[ing] 'the location for [*7] the act of production.'" Id. In support of its Motion,

               Credit Suisse has provided an affidavit from its Director of Cross-Border Litigation

               and Investigations, which provides sworn testimony affirming that it has no

               employees within the State of Florida. ECF No. [22-1], at 2. Thus, because there is

               no Credit Suisse employee within a 100-mile radius of the place of production, the

               Court agrees with Credit Suisse and finds that the Subpoena must be quashed.

               See Id. (emphasis added).

      42. Given the foregoing, even if subject matter jurisdiction did lie, the fact that AMIT FORLIT is

           a foreign national who resides in Israel, does not conduct business in the State of Florida, and

           has not been in the State of Florida since 2017, coupled with the fact that all “conduct” alleged

           by the Petitioner is alleged to have taken place entirely outside of the United States of

           America, the Court would be required to quash the Petitioner’s proposed deposition and

           document production subpoenas, which purport to demand and require AMIT FORLIT to

           appear in the Southern District, and produce documents in the Southern District, at a location

           well beyond 100 miles from where he is located5.


5
    As an aside, Petitioner does not argue, and seems to concede, that AMIT FORLIT is not currently employed, and does not routinely


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                                                   INTEL FACTORS:

    43. As a final point, and again assuming arguendo that jurisdiction did lie under 28 USC 1782,

         and this Court was not concerned with the fact that all alleged “conduct” is asserted by the

         Petitioner to have occurred in foreign jurisdictions by a party (AMIT FORLIT) who has at all

         times been located in a foreign jurisdiction, consideration of the Intel factors should lead this

         Court to deny the relief requested by the Petitioner.

    44. As identified by the honorable Beth Bloom in In re Kurbatova, 2019 U.S. Dist. LEXIS 84030

         (S.D. Fla. 2019), “The Intel factors include: 1) whether the respondents are parties in a foreign

         proceeding; 2) the nature of the foreign tribunal, the character of the proceedings abroad, and

         the receptivity of the foreign tribunal to assistance from a U.S. federal court, 3) whether [*8]

         the discovery application conceals an attempt to circumvent foreign proof-gathering

         restrictions or other policies of a foreign country or the United States, and 4) whether the

         request is intrusive or burdensome.” See Id.

    45. As to the first Intel factor, in his Declaration, Dominic Holden asserts that AMIT FORLIT has

         been alleged to be a party Defendant in the foreign UK Proceedings. See DE 23-2, at Paragraph

         10 (“The Draft Counterclaim alleges that: a. Mr. Forlit, through Insight and Gadot, were

         engaged by Mr. Page to conduct investigation into Mr. Azima and others, and that the

         investigation included hacking; b. Respondents provided to Mr. Page monthly

         investigation reports, some of which included extracts of hacked data; c. After Mr.




conduct business at this time, in the State of Florida. AMIT FORLIT has also attested to those points in Exhibit “2” attached hereto.


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   Azima brought a counterclaim against RAKIA, Mr. Forlit and the UK Defendants

   conspired to concoct a false story about how the UK Defendants came; …).

46. Though AMIT FORLIT has not been served with process in connection with the UK

   Proceedings, the apparent comment that he is, or is contemplated to be, a party

   Defendant therein, weighs against using the Courts of the United States to conduct

   discovery which would otherwise be available in direct proceedings in the UK, and in

   which AMIT FORLIT would be afforded the reciprocal right to conduct discovery to

   openly identify, convey, and disclose to all the patent falsity of the “sworn statements”

   currently being used by the Petitioner to support his conspiracy theories.

47. As to the third Intel factor, Petitioner has means available to it through the Courts of the UK

   to seek direct party, and non-party, discovery. In point of fact, Petitioner has procured

   “witness statements” from parties and non-parties to the UK proceedings to use as the basis

   for its Petitions under 28 USC 1782 to this Court. At no time has the Petitioner indicated how,

   or why, the discovery processes of the UK Courts cannot be used to obtain any discovery

   sought directly from AMIT FOLIT. Moreover, and to the extent AMIT FORLIT is, or is being

   made, a party to the UK Proceedings (based upon Dominic Holden’s Declaration), this factor

   weighs against having this Court act as a second avenue for the conducting of discovery which

   is readily available to the Petitioner directly in the currently pending UK Proceedings.

48. Finally, as to the fourth Intel factor, Petitioner seeks a discovery deposition of AMIT FORLIT

   with no limitations whatsoever on the lines of questioning to be asked, and he seeks document

   production which is wholly unrelated to a) the Petitioner, or b) the claims allegedly at issue in




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   the UK Proceedings (based upon the re-re-amended counter-claim provided by Dominic

   Holden). As noted above, AMIT FORLIT has been operating in the private sector as a Private

   Investigator in Israel since 2002 (See Exhibit “4”). In order to open Gadot Information

   Services in his home in Israel, AMIT FORLIT was required to obtain a license (which he did)

   to perform services as a private investigator. See Exhibit “5” attached hereto.

49. Across the past 20 years, AMIT FORLIT has worked for a number of clients, none of which

   ever hired him to investigate the Petitioner, or to “hack” the Petitioner. AMIT FORLIT

   should not be subjected to limitless discovery about his activities as a private investigator, the

   identify of his clients and the services he provided, the when, where, how, and what clients

   paid for AMIT FORLIT’s services or the scope of his services, or anything else that is not

   directly related (and limited) to a) the Petitioner, or b) the testimony provided in the subject

   UK proceedings and which is the subject matter or the “re-re-amended counter-claim”. At a

   bare minimum, the grossly overbroad and limitless deposition subpoena should be denied, and

   the request (if the Court somehow looks beyond all of the foregoing and determines that

   jurisdiction exists and the sought discovery is appropriate) must be trimmed and tailored so as

   to match the actual alleged “issues” and “need” for the desired discovery deposition.

50. As to the production subpoena proposed by the Petitioner, the same issue exists. Petitioner

   seeks materials that are in no way tailored, or relevant, to the UK Proceedings, including:

      a. All records related to transactions in the state of Florida or the United States, including

          all bank records, wire transfers, tax records, and property owned or used by you in the

          United States.




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          b. All records related to Alon Omri Gurlavie, including information regarding Mr.

              Gurlavie’s address, date of birth, and United States immigration status.

          c. All records related to your United States immigration status, including any prior U.S.

              immigration documents and applications.

   51. The foregoing bears no relevance to the UK Proceedings, or the stated “need” for this Court’s

       assistance in gathering discovery for use in said proceedings, and highlights the improper

       means and methods resorted to by the Petitioner in his expanding and persisting efforts to

       coerce further individuals into assisting him (through coerced false testimony) with his

       conspiracy claims pending in the UK Proceedings.

                                            CONCLUSION:

              Based upon the foregoing, subject matter does not lie in this proceeding as to AMIT

   FORLIT, and as such the Supplemental Request by the Petitioner must be denied, the intended

   discovery disallowed, and these proceedings dismissed as to AMIT FORLIT. AMIT FORLIT

   furthermore should be awarded a recovery of reasonable attorney’s fees and court costs incurred

   in being forced to respond to the Petitioner’s filings and actions in this proceeding.

              WHEREFORE AMIT FORLIT requests that this Court DENY all relief requested by

   the Petitioner, and grant relief to AMIT FORLIT as set forth hereinabove.

                                GOOD FAITH CERTIFICATION:

       The undersigned counsel hereby certifies that: (A) that counsel for the undersigned has

conferred with all parties or non-parties who may be affected by the relief sought in the foregoing in

a good faith effort to resolve the issues raised in the foregoing and has been unable to do so.




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                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 17nd day of June, 2022, that a true and correct
copy of the foregoing has been filed through the Court’s CM/ECF-filing portal and that a true copy
has been served through the portal upon all counsel of record in this action.

                                                Respectfully submitted,

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